          Case 2:09-cr-00358-WBS Document 55 Filed 01/31/11 Page 1 of 3


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 4   Telephone: (916) 554-2770
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 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           CASE NO. 2:09-CR-358 WBS
                                   )
12                  Plaintiff,     )
                                   )
13        v.                       )           STIPULATION AND [PROPOSED]
                                   )           ORDER TO EXCLUDE TIME
14   JOSE OLIVERA ZAPIEN, et.al.   )
                                   )
15                                 )
                    Defendant.     )
16   ______________________________)
17
18        The parties request that the status conference in this case be
19   continued from January 31, 2011 to April 4, 2011 at 8:30 a.m.          They
20   stipulate that the time between January 31, 2011 and April 4, 2011
21   should be excluded from the calculation of time under the Speedy
22   Trial Act.   The parties stipulate that the ends of justice are served
23   by the Court excluding such time, so that counsel for the defendant
24   may have reasonable time necessary for effective preparation, taking
25   into account the exercise of due diligence.       18 U.S.C. §
26   3161(h)(7)(B)(iv)and Local Code T-4.       Specifically, all defense
27   counsel need additional time to review the discovery provided and
28   investigate the case.    Well over 2000 pages of discovery and 80 CD’s

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          Case 2:09-cr-00358-WBS Document 55 Filed 01/31/11 Page 2 of 3


 1   containing video, audio recordings and photographs have been provided
 2   to the defense counsel to date.     The government recently provided an
 3   approximately 1200 additional pages of discovery that defense counsel
 4   will need to review.   The parties stipulate and agree that the
 5   interests of justice served by granting this continuance outweigh the
 6   best interests of the public and the defendant in a speedy trial.    18
 7   U.S.C. § 3161(h)(7)(A).
 8
 9                                          Respectfully Submitted,
10                                          BENJAMIN B. WAGNER
                                            United States Attorney
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12
     DATE: January 28, 2011           By:    /s/ Heiko P. Coppola
13                                          HEIKO P. COPPOLA
                                            Assistant U.S. Attorney
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15
     DATE: January 28, 2011                  /s/ Michael Petrick
16                                          MICHAEL PETRICK
                                            Attorney for Defendant
17                                          Jose Olivera Zapien
18                                           /s/ Gilbert Roque
                                            GILBERT ROQUE
19                                          Attorney for Defendant
                                            Ramiro Suarez
20
                                             /s/ Ruben Munoz
21                                          RUBEN MUNOZ
                                            Attorney for Defendant
22                                          Adolfo Valencia Alvarez
23                                           /s/ Olaf Hedberg
                                            OLAF HEDBERG
24                                          Attorney for Defendant
                                            Jose Quintero Fernandez
25
                                             /s/ Clemente Jimenez
26                                          CLEMENTE JIMENEZ
                                            Attorney for Defendant
27                                          Jose Moreno Gutierrez
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             Case 2:09-cr-00358-WBS Document 55 Filed 01/31/11 Page 3 of 3


 1                                              /s/ Tim Pori
                                               TIM PORI
 2                                             Attorney for Defendant
                                               Erik Aguilar Lara
 3
                                                /s/ Chris Cosca
 4                                             CHRIS COSCA
                                               Attorney for Defendant
 5                                             Alejandro Moreno Gutierrez
 6
 7
                                               SO ORDERED.
 8
 9   DATE:    January 28, 2011
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